
905 A.2d 840 (2006)
394 Md. 303
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Adigun S. BAKARE, Respondent.
Misc. Docket AG No. 30, September Term, 2006.
Court of Appeals of Maryland.
August 22, 2006.

ORDER
Upon consideration of the Joint Petition for Disbarment by Consent filed here and pursuant to Maryland Rule 16-772, it is this 22nd day of August, 2006,
ORDERED, by the Court of Appeals of Maryland, that ADIGUN S. BAKARE, be, and is hereby, disbarred by consent from the further practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Adigun S. Bakare from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
